Case 1:19-cv-12158-ADB Document1 Filed 10/18/19 Page 1of 8

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

)

GREGORY FIRMIN, )

Plaintiff, )

)

V. )

)

CITY OF BOSTON, MASSACHUSETTS; )
BOSTON POLICE DEPARTMENT; MARTIN J.) CIVIL ACTION NO.

WALSH, MAYOR; OFFICER CARL NEMES, )

OFFICER WILLIAM ROBERTSON, AND )

OFFICER CHARLES KELLER, )

)

Defendants. )

)

 

COMPLAINT AND JURY CLAIM
INTRODUCTION
This is a civil rights action against Police Officers Carl Nemes (“Nemes”), William
Robertson (“Robertson”), Charles Keller (“Keller”), individually and against The City of
Boston Police Department and the City of Boston. The Plaintiff, Gregory Firmin (“Mr.
Firmin”), sustained injuries when he was unlawfully arrested and subjected to excessive
force when stopped by Boston Police Department Officers. On the night of December 1,
2017, Mr. Firmin was driving on Blue Hill Avenue in Boston when he was stopped by
Boston Police at the corner of Talbot Avenue. Numerous police vehicles suddenly blocked
his way and ordered him to get out of the car. After getting out of his car, the officers threw
Mr. Firmin to the ground and stomped on his neck. He was placed in handcuffs and the
police immediately began searching his entire car. As a result of the officers’ brutal
physical assault, Mr. Firmin suffered significant injury of body and mind, including a

broken bone in his neck.
Case 1:19-cv-12158-ADB Document1 Filed 10/18/19 Page 2 of 8

The Defendants Nemes, Robertson, and Keller arrived at the scene after Boston Police
received an anonymous call identifying Mr. Firmin’s vehicle and stating he was in
possession of a firearm. The officers at the scene stopped Mr. Firmin’s car, ordered him
out of the car, forced him to the ground violently, stomped on his neck, searched Mr.
Firmin’s entire vehicle without a warrant and could not locate a firearm or any weapon in
the car. The officers radioed and asked for the reporting individual to make themselves
known, when Police Dispatch called this person they refused and stated they did not want
to file a police report. Boston Police Department now contends that they no longer have
the phone number of this individual.

JURISDICTION
This action is brought pursuant to 42 U.S.C. § 1983 and the Fourth and Fourteenth
Amendments to the United States Constitution. Title 28 U.S.C. § 1331 and § 1343 provide
federal question jurisdiction over all federal claims, and 28 U.S.C. § 1367 provides
supplemental jurisdiction over state law claims.

PARTIES

Plaintiff Gregory Firmin is a Citizen of the United States and of the Commonwealth of
Massachusetts.
Defendant Carl Nemes is a natural person and resident of the Commonwealth of
Massachusetts. At all times alleged in this complaint, the City of Boston employed Carl
Nemes as a police officer of the Boston Police Department.
Defendant William Robertson is a natural person and resident of the Commonwealth of
Massachusetts. At all times alleged in this complaint, the City of Boston employed

William Robertson as a police officer of the Boston Police Department.
10.

11.

12.

13.

14.

15.

Case 1:19-cv-12158-ADB Document1 Filed 10/18/19 Page 3 of 8

Defendant Charles Keller is a natural person and resident of the Commonwealth of
Massachusetts. At all times alleged in this complaint, the City of Boston employed Charles
Keller as a police officer of the Boston Police Department.
All of the individual defendants were, at all times referred to in this complaint, acting in
their official capacities.
All of the individual defendants were, at all times referred to in this complaint, acting as
employees, agents and servants of the City of Boston.
All of the individual defendants were, at all times referred to in this complaint acting under
color of state law.
All of the individual defendants are sued individually and in their official capacities.
Defendant City of Boston is a municipal corporation located in Suffolk County,
Commonwealth of Massachusetts, and was at all times relevant to this complaint, the public
employer of defendants Nemes, Robertson, and Keller.
Defendant City of Boston Police Department is the law enforcement agency of the City of
Boston, and was at all times relevant to this complaint, the public employer of defendants
Nemes, Robertson, and Keller.

FACTS
On December 1, 2017 around 11:30 PM, Gregory Firmin was driving home from work on
Blue Hill Avenue in Boston. When he reached the intersection of Blue Hills Avenue and
Talbot Avenue, he was pulled over by the Boston Police Department.
Boston Police Department Officers Nemes, Robertson and Keller stopped the vehicle after
it was identified by an unknown caller to the Boston Police Department. The unknown

caller alleged that the driver of the car had a gun.
16.

17.

18.

19,

20.

21.

22.

23.

24.

25.

26.

27.

28.

Case 1:19-cv-12158-ADB Document1 Filed 10/18/19 Page 4 of 8

Officers Nemes, Robertson and Keller ordered Gregory Firman out of the car, arrested
immediately arrested him and forced him violently to the ground
The officers then searched his vehicle without having obtained a warrant.
Mr. Firmin was placed in handcuffs as the Officers searched through his vehicle
At least one of the officers placed his foot and body weight onto Mr. Firman’s neck,
shoulder and collarbone resulting in serious injuries.
During the course of the arrest Mr. Firmin suffered a fractured hyoid bone.
After searching the vehicle, the officers were unable to identify or find a firearm in the car.
The officers then released Mr. Firman and told him he could go home.
The caller that identified Mr. Firmin’s vehicle never made themselves known nor filed a
report.
COUNT 1

42 U.S.C § 1983 Claim Against Officers for the Unreasonable Use of Force
The above paragraphs are incorporated by reference.
Defendants Nemes, Robertson, and Keller, acting under of color of law, used unreasonable
force against Plaintiff Gregory Firmin, depriving him of his clearly established right to be
free from the use of unreasonable force by police officers under the Fourth Amendment to
the United States Constitution as applied under the Fourteenth Amendment.
Defendants Nemes, Robertson, and Keller acted jointly and in concert.
Defendants Nemes, Robertson, and Keller acted with reckless disregard for Plaintiff's
constitutional rights.
As a direct and proximate result of Defendants’ actions, Plaintiff suffered the

damages described above.
29.

30.

31.

32.

33.

34,

35.

36.

37,

38.

Case 1:19-cv-12158-ADB Document1 Filed 10/18/19 Page 5of 8

COUNT 2
42 U.S.C. § 1983 Claim Against Officers for Unlawful Arrest
The above paragraphs are incorporated by reference.
Officers Nemes, Robertson, and Keller did not have probable cause to arrest Mr. Firmin.
By the actions described above, the defendants deprived the plaintiff of the
clearly established and well-settled right to be free from unreasonable seizures.
The defendants’ actions were taken with reckless disregard for plaintiff's constitutional
rights.
As a direct and proximate result of this conduct, the plaintiff suffered the injuries as
described above.
COUNT 3
Massachusetts Civil Rights Act, M.G.L C.12, §111, Against the Officers
The above paragraphs are incorporated by reference.
Officers Nemes, Robertson, and Keller violated the plaintiffs rights by threats,
intimidation and coercion.
As a direct and proximate result of this conduct, the plaintiff suffered the injuries as
described above.
COUNT 4
Tort of Assault & Battery Against the Officers
The above paragraphs are incorporated by reference.
Officers Nemes, Robertson, and Keller committed the common law tort of

assault and battery against the plaintiff.
39.

40.

41.

42.

43.

44.

45.

46.

47.

48.

Case 1:19-cv-12158-ADB Document1 Filed 10/18/19 Page 6 of 8

As a direct and proximate result of this conduct, the plaintiff suffered the injuries as
described above.

COUNT 5

False Imprisonment Against Officers

The above paragraphs are incorporated by reference.
Officers Nemes, Robertson, and Keller committed the common law tort of false
imprisonment by physically arresting Andrew without probable cause.
As a direct and proximate result of this conduct, the plaintiff suffered the injuries as
described above.

COUNT 6

Negligence Against the City of Boston and City of Boston Police

The above paragraphs are incorporated by reference.
On August 1, 2018, a notice pursuant to M.G.L. c.258, §4 was forwarded to the
Mayor of the City of Boston.
Plaintiff properly performed the conditions precedent to filing an action under M.G.L.
c. 258.

The City of Boston and City of Boston Police failed to make a settlement offer in response
to plaintiff's demand.

Officer Nemes, Officer Robertson, and Officer Keller were acting within the scope
of their employment at all times alleged in this complaint.

Employees of the City of Boston were negligent in:

a) failing to respond properly to an anonymous call reporting a firearm;

b) Ordering Mr. Firmin to leave his vehicle and forcing him violently to the ground and
by putting their entire weight onto the neck of Mr. Firmin causing him serious injury;
49.

Case 1:19-cv-12158-ADB Document1 Filed 10/18/19 Page 7 of 8

¢) arresting Mr. Firmin without probable cause;

d) failing to protect Mr. Firmin from the unreasonable use of force by Officer Nemes,
Officer Robertson, and Officer Keller;

e) failing to properly train Officer Nemes, Officer Robertson, and Officer Keller in, the
use of force, and probable cause for arrests;

f) failing to properly supervise Boston police officers including Officer Nemes, Officer
Robertson, and Officer Keller; and

g) failing to properly discipline Boston police officers including Officer Nemes, Officer
Robertson, and Officer Keller thereby permitting and encouraging acts of misconduct
against civilians.

AS a proximate cause of the City’s negligence, the plaintiff suffered damages as

described above.

WHEREFORE, the plaintiff requests that this court:

1.

2.

Award compensatory damages;

Award punitive damages against Officer Nemes, Officer Robertson, and Officer Keller;
Award the costs of this action, including reasonable attorney’s fees; and

Award such other and further relief as this Court may deem necessary and

appropriate.

JURY DEMAND

A jury trial is hereby demanded.
Case 1:19-cv-12158-ADB Document1 Filed 10/18/19 Page 8 of 8

Dated: October 18, 2019

Respectfully Submitted,

On Behalf of the Plaintiff,
Gregory Firmin,

By his attorneys,

MITCHESON & LEE LLP

/s/ H. Luke Mitcheson

 

H. Luke Mitcheson, BBO#: 676386
One State Street, Suite 1050
Boston, MA 02109

(617) 933-3880

luke@imitchesonlee.com

GLICKMAN LLC

/s/ Paul M. Glickman

 

Paul M. Glickman, BBO #: 550840
One South Market Bldg, 4" Floor
Boston, MA 02109

(617) 399-7770
‘pmg@glickmanllc.com
